Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 1 of 11                                  PageID #: 3302




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

     BOKF, N.A., as indenture trustee,

                              Plaintiff,

            v.                                                     Case No. 21-00031-KD-B

     GORDON JENSEN HEALTH CARE
     ASSOCIATION, INC.; KNOLLWOOD NH,
     LLC; CONQUEST HEALTH SYSTEMS,
     LLC; MARSH POINTE MANAGEMENT,
     LLC; and MEDICAL CLINIC BOARD OF
     THE CITY OF MOBILE (SECOND),

                              Defendants.


             RECEIVER’S MONTHLY OPERATING REPORT DATED JULY 20, 2022

          Derek Pierce, managing partner of Healthcare Management Partners, LLC (“HMP), as the

 court-appointed receiver (the “Receiver”) in the above-captioned action, submits this monthly

 operating report for the period from June 12, 2022 through July 9, 2022 (the “Reporting Period”).

           ADMINISTRATION OF THE RECEIVERSHIP ESTATE AND FACILITY OPERATIONS

          Since the Receiver’s appointment on March 15, 2021 pursuant to the Order (Dkt. No. 43

 (the “Receivership Order”) 1 and subsequent acceptance of the Receiver’s appointment on March

 19, 2021, the Receiver has gained access to and control over all of Gordon Jensen Health Care

 Association, Inc.’s assets and take from Gordon Jensen Health Care Association, Inc., Knollwood

 NH, LLC, and Conquest Health Systems, LLC all rights and powers with respect to the Facility,

 the Facility’s administration and operation, and all other aspects of the Receivership Estate. The

 Receiver continues to provide oversight and direction to the current manager of the Facility, review


 1
   Capitalized terms used in this monthly operating report and not otherwise defined shall have the meanings ascribed
 to them in the Receivership Order.


 -
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 2 of 11                    PageID #: 3303




 and analyze past financial reports, and prepare forward-looking cash flow analyses and

 projections. The Receiver will continue to take all actions the Receiver deems necessary and

 advisable to fulfill the Receiver’s obligations under the Receivership Order.

                               TURNOVER OF ASSETS AND RECORDS

        Pursuant to the Receivership Order, the Receiver is to exercise his full power and authority

 to control, manage, administer, operate, and protect the Receivership Estate. In addition, the

 Receivership Order: (a) directs the Receiver to operate and administer the Receivership Estate in

 an economical and efficient manner in compliance with the terms and conditions of the Bond

 Documents and applicable law; and (b) authorizes and directs the Receiver to recover, collect,

 operate, maintain, preserve, and manage the Receivership Estate in the best interests of the

 Receivership Estate’s creditors. To that end, upon the Receiver’s acceptance of his appointment

 under the Receivership Order, the Receiver immediately demanded that the above-captioned

 defendants and their respective officers, directors, stockholders, members, managers, subscribers,

 agents, and any other persons acting in active concert with them deliver to the Receiver all items

 necessary to operate and administer the Receivership Estate. To date, the above-captioned

 defendants have cooperated with the Receiver. The Receiver will continue (y) investigating

 whether requests for additional information are necessary and (z) assessing whether the Receiver

 has obtained access to all of the Receivership Estate.

                          MANAGEMENT OF THE RECEIVERSHIP ESTATE

        The Receiver is maintaining exclusive possession and control over the Receivership Estate,

 as contemplated and directed by the Receivership Order. As previously reported, as of April 15,

 2021, the Receiver engaged HMP Senior Solutions, LLC (“Senior Solutions”), an affiliate and

 wholly-owned subsidiary of Healthcare Management Partners, LLC (“HMP”), to manage the

 Facility. Senior Solutions provides management services to senior housing facilities including
 -
                                                  2
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 3 of 11                       PageID #: 3304




 assisted living facilities and skilled nursing facilities. Senior Solutions has agreed to a management

 fee equal to 5% of net revenues (the “Senior Solutions Management Fee”). Additionally, the

 Receiver engaged HMP Metrics, LLC (“Metrics”), to provide information technology, telecom,

 and network support services for the Facility under the supervision of HMP and Senior Solutions.

 The fees and expenses of Senior Solutions and Metrics will be included in the monthly fee

 applications filed by HMP.

                                     FINANCIAL PERFORMANCE

        Attached as Exhibit A to this monthly operating report is a cash flow analysis for the

 Reporting Period. As set forth in the attached cash flow analysis, as of the beginning of the

 Reporting Period, the Receivership Estate had a beginning cash balance of $157,659. During the

 Reporting Period, the Receivership Estate collected $416,413 in cash receipts and expended

 $426,689 in necessary operating expenses and $15,000 in necessary non-operating expenses (the

 entirety of which consists of transfers to Gordon Oaks), resulting in cash flow during the Reporting

 Period in the amount of $(25,277). As a result, at the conclusion of the Reporting Period, the

 Receivership Estate had an ending cash balance of $132,383. As of the end of the Reporting Period,

 the Facility had fifty-nine (59) occupied beds out of seventy-one (71) available beds.

                              INFORMATION REGARDING COVID-19

        In accordance with CDC guidance, the Facility is no longer conducting COVID-19 testing

 because the Facility is in a low transmission area. During the Reporting Period, zero residents and

 three employees tested positive for COVID-19. The Facility continues to follow the

 recommendations for COVID-19 infection control and prevention issued by the World Health

 Organization, Centers for Disease Control, Centers for Medicare and Medicaid Services, and the

 State of Alabama.


 -
                                                   3
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 4 of 11                       PageID #: 3305




              RETENTION OF PROFESSIONALS AND INCURRED PROFESSIONAL FEES

        Pursuant to Paragraph 8(xxiv), the Receiver is authorized to engage professionals in the

 ordinary course of the Facility’s business, as the Receiver may, subject to the approval of the

 Trustee, deem necessary or advisable to assist the Receiver in the performance of its duties under

 the Receivership Order, with the fees and expenses of such professionals payable on a current basis

 from the Receivership Estate as operating expenses, subject to Paragraph 8(xxx) of the

 Receivership Order.

        As of the date of this monthly operating report, Waller Lansden Dortch & Davis, LLP

 (“Waller”) continues to serve as general counsel to the Receiver and assist with the substantial

 legal work required to advise and represent the Receiver with respect to his general duties under

 the Receivership Order. In accordance with Paragraph 36 of the Receivership Order, the Receiver

 and Waller will seek payment of the Receiver’s and Waller’s fees and expenses on the twentieth

 of each calendar month, by filing fee applications setting for reasonably itemized time entries and

 expenses. In each instance a fee application is filed, unless a party files a written objection within

 thirty (30) calendar days of the filing of the respective fee application, the respective fee

 application will be deemed approved and the Receiver shall be authorized to pay the fees and

 expenses as necessary expenses of the operation of the Facility without further order of the Court.

        Also as of the date of this monthly operating report, Blueprint Healthcare Real Estate

 Advisors, LLC (“Blueprint”) has been retained as the Receiver’s real estate broker and exclusive

 listing agent for the real and personal property associated with: (i) the Facility; (ii) the assisted

 living facility commonly known as Gordon Oaks Senior Living; and (iii) the independent living




 -
                                                   4
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 5 of 11                                  PageID #: 3306




 facility commonly known as Gordon Oaks Senior Living (collectively, the “Facilities”). 2

 Blueprint has agreed to charge the Receiver the greater of (a) two percent (2%) commission on the

 gross sale price of the Facilities and (b) Two Hundred Thousand Dollars ($200,000), whether the

 Facilities are sold in one or multiple transactions. Blueprint is now actively marketing the

 Facilities.

                       LIQUIDATION OF CLAIMS OF THE RECEIVERSHIP ESTATE

         As part of the Receiver’s duties and obligations under the Receivership Order, the Receiver

 will undertake to investigate potential claims against third parties and whether any such claims

 should be pursued by way of legal action, in accordance with the Receiver’s power set forth in

 paragraphs 8(xv) and 8(xviii) of the Receivership Order.

                                             CLAIMS PROCEDURES

         As previously reported, pursuant to the Order Granting Receiver’s Motion to Approve (I)

 Proposed Claims Verification Procedures, (II) Claims Bar Date, and (III) Proposed Claims

 Distribution Method (the “Claims Order”), the deadline to file claims was September 6, 2021 at

 5:00 p.m. (prevailing Central time). As also previously reported, the Receiver: (a) has received

 three (3) claims in accordance with and pursuant to the Claims Order; and (b) has not undertaken

 to reconcile or otherwise determine the veracity of the claims filed to date, but the Receiver will

 undertake such actions at an appropriate time in the future as part of the Receiver’s claims

 reconciliation process during this proceeding.




 2
   The Receiver also serves as receiver and has retained Blueprint in similar capacities in BOKF, N.A., as indenture
 trustee v. Bama Oaks Retirement, LLC et al., No. 21-00028-KD-B and BOKF, N.A., as indenture trustee v. Bama
 Oaks Retirement, LLC, No. 21-00029-KD-B, each of which involve the Facilities.
 -
                                                         5
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 6 of 11                       PageID #: 3307




                                           SALE PROCESS

        On February 4, 2022, the Receiver filed Receiver’s Motion for Order: (I) Authorizing and

 Approving Bidding Procedures for the Sale of Substantially All of the Assets of the Receivership

 Estates; (II) Authorizing the Sale of Substantially All of the Assets of the Receivership Estates Free

 and Clear of All Liens, Claims, Encumbrances, and Other Interests; (III) Approving Stalking

 Horse Purchaser, Break-Up Fee, and Overbid Protections; (IV) Scheduling a Hearing to Approve

 the sale of Substantially All of the Assets of the Receivership Estates; and (V) Granting Related

 Relief (the “Sale Motion”).

        As previously reported, the Court entered the Bidding Procedures Order (Dkt. No. 153),

 pursuant to which the Court, among other things, established May 6, 2022 at 5:00 p.m. (prevailing

 Central time) as the deadline to submit a competing bid, scheduled a public sale by auction to

 occur on May 12, 2022 at 9:30 a.m. at the main entrance of the Court, scheduled a hearing to

 consider approval of any sale for Friday, May 13, 2022 at 11:00 a.m. (this hearing was

 subsequently rescheduled to 1:30 p.m.), and established May 12, 2022 at 5:00 p.m. (prevailing

 Central time) as the deadline to file any objections to any sale.

        On May 12, 2022, the Receiver caused to be filed a Notice of Successful Bidder (Dkt.

 No. 168), notifying the Court there was a single Qualified Bidder, the Successful Bidder was the

 Stalking Horse Purchaser, Southern Skilled Acquisitions I, LLC (“Southern Skilled

 Acquisitions”), and the Successful Bid was $12,000,000. On May 17, 2022, the Court entered the

 Order (I) Authorizing, Approving, and Directing the Sale of Substantially All of the Assets of the

 Receivership Estates to the Successful Bidder and Backup Bidder Free and Clear of All Liens,

 Claims, Encumbrances, and Other Interests; (II) Authorizing and Approving the Successful Bid

 and Backup Bid; (III) Approving Marketing and Sale Process; and (IV) Granting Related Relief

 (Dkt. No. 171) (the “Final Sale Order”), approving a sale of substantially all assets of the
 -
                                                   6
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 7 of 11                         PageID #: 3308




 Receivership Estate. Subject to and in accordance with the Final Sale Order, the Receiver will

 undertake all steps to close the sale of substantially all assets of the Receivership Estate as

 contemplated in the Sale Motion. The Receiver and Southern Skilled Acquisitions are engaged in

 negotiations regarding establishing a closing date for the sale.

                                            PENDING MATTERS

            As of the date of this fifteenth monthly operating report, the following motions are pending:

     (i)       Receiver’s Motion to Approve Compensation for Services Rendered and Expenses
               Incurred for the Period From April 1, 2022 Through April 30, 2022 (Dkt. No. 175);
               and

     (ii)      Waller Lansden Dortch & Davis, LLP’s Motion to Approve Compensation for Services
               Rendered and Expenses Incurred for the Period From April 1, 2022 Through April 30,
               2022 (Dkt. No. 176);

     (iii)     Receiver’s Motion to Approve Compensation for Services Rendered and Expenses
               Incurred for the Period from May 1, 2022 Through May 31, 2022 (Dkt. No. 178); and

     (iv)      Waller Lansden Dortch & Davis, LLP’s Motion to Approve Compensation for Services
               Rendered and Expenses Incurred for the Period From May 1, 2022 Through May 31,
               2022 (Dkt. No. 179).

 Dated: July 20, 2022                                     Respectfully submitted,


                                                            /s/ Brian J. Malcom
                                                          Brian J. Malcom
                                                          WALLER LANSDEN
                                                          DORTCH & DAVIS, LLP
                                                          1901 Sixth Ave. North, Suite 1400
                                                          Birmingham, AL 35203
                                                          Tel: (205) 226-5706
                                                          Fax: (205) 214-7342
                                                          Brian.Malcom@wallerlaw.com

                                                          - and -


                                                          Ryan K. Cochran
                                                          Alabama Bar No. 1748N70C
                                                          WALLER LANSDEN
                                                          DORTCH & DAVIS, LLP
 -
                                                     7
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 8 of 11       PageID #: 3309




                                           511 Union Street, Suite 2700
                                           Nashville, Tennessee 37219
                                           Tel: (615) 850-8778
                                           Fax: (615) 244-6304
                                           ryan.cochran@wallerlaw.com

                                           Attorneys for the Receiver, Derek Pierce of
                                           Healthcare Management Partners, LLC




 -
                                       8
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 9 of 11                    PageID #: 3310




                                  CERTIFICATE OF SERVICE

        I, the undersigned, declare that a true and correct copy of the foregoing was served via the
 Court’s CM/ECF electronic noticing system on the date set forth below on the following:

 W. Joseph McCorkle, Jr.                              Thomas R. Boller
 Balch & Bingham                                      Mary Allie Elizabeth Boller
 P.O. Box 78                                          Thomas R. Boller, PC
 Montgomery, AL 36101                                 150 Government Street, Ste. 1001
 jmccorkl@balch.com                                   Mobile, AL 36602
                                                      tom@bollerlawfirm.com
 Frederic Dorwart                                     allie@bollerlawfirm.com
 James A. Higgins
 Nora R. O’Neill                                      Attorneys for Conquest Health
 Frederic Dorwart Lawyers                             Systems, LLC; Gordon Jensen
 124 E. Fourth Street, Ste. 100                       Health Care Association, Inc.;
 Tulsa, OK 74103                                      Knollwood NH, LLC; & Marsh
 fdorwart@fdlaw.com                                   Pointe Management, LLC
 jhiggins@fdlaw.com
                                                      Michael Mark Linder, Jr.
 Walter Jones                                         The Atchison Firm
 Patrick N. Silloway                                  3030 Knollwood Drive
 Balch & Bingham                                      Mobile, AL 36693
 30 Ivan Allen Jr. Blvd., Ste. 700                    michael.linder@atchisonlaw.com
 Atlanta, GA 30308
 wjones@balch.com                                     Attorney for Medical Clinic Board
 psilloway@balch.com                                  of the City of Mobile
 Attorneys for BOKF, N.A.


 This 20th day of July 2022.                           /s/ Brian J. Malcom
                                                      OF COUNSEL




 -
                                                 9
Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 10 of 11   PageID #: 3311




                                    EXHIBIT A

                               CASH FLOW REPORT




  -
               Case 1:21-cv-00031-KD-B Document 183 Filed 07/20/22 Page 11 of 11                             PageID #: 3312


Knollwood NH LLC
From the Period 06/12/2022 - 07/09/2022

Cash Flow WorkSheet                                                   Actual        Actual       Actual        Actual           Actual
Week Beginning Date                                                 6/12/2022     6/19/2022    6/26/2022      7/3/2022        6/12/2022
Week Ending Date                                                    6/18/2022     6/25/2022     7/2/2022      7/9/2022        7/9/2022
Total Unit Occupancy                                                  69%           73%          82%           83%                 83%
Total Available Beds                                                   71            71           71            71                  71
Total Occupied Bed                                                     49            52           58            59                  59
Beginning Balance                                                    $157,659      $293,715     $170,120      $280,654            $157,659

Cash Receipts
   Patient Payments - Medicaid                                     $ 110,524 $        2,329 $ 117,312 $             -         $    230,166
   Patient Payments - Medicare A                                         -           40,320     4,424               -               44,745
 1
   Patient Payments - Other                                           99,411         11,878       -              30,213            141,502
   CARES ACT Funding                                                     -              -         -                 -                  -
   PPP Funding                                                           -              -         -                 -                  -
   SBA Loan Funding                                                      -              -         -                 -                  -
   Patient Refunds                                                       -              -         -                 -                  -

Total Cash Receipts                                                $ 209,936 $       54,527 $ 121,737 $         30,213        $    416,413
Cash Disbursements
   Labor                                                               (10,425)    (116,166)       (6,907)     (115,358)          (248,856)
   Contract Labor                                                      (14,098)     (16,395)          -         (33,335)           (63,828)
   Management Fees                                                         -            -             -             -                  -
   Medical Director                                                        -            -             -             -                  -
   Insurance                                                               -            -             -             -                  -
   Worker's Comp Insurance                                                 -            -             -             -                  -
   Patient Care                                                         (5,170)         -             -             -               (5,170)
   General & Administrative                                             (2,048)      (1,638)          (50)         (100)            (3,836)
   Dietary                                                              (6,254)      (4,628)       (4,569)       (4,729)           (20,180)
   Rental & Leases                                                      (1,098)      (3,961)          463           -               (4,596)
   Utilities - Cable TV                                                    -         (1,698)          -          (2,892)            (4,590)
   Utilities - Electricity                                                 -        (14,709)          -             -              (14,709)
   Utilities - Gas                                                         -            -             -             -                  -
   Utilities - Pest Control                                                -            -             -             -                  -
   Utilities - Waste Disposal                                             (735)      (3,025)         (139)          -               (3,899)
   Utilities - Water                                                       -            -             -          (7,071)            (7,071)
   Supplies                                                             (1,631)      (4,229)          -             -               (5,860)
   Housekeeping                                                            -            -             -             -                  -
   Repairs & Maintenance                                                  (547)      (3,026)          -             -               (3,573)
   Pharmacy                                                                -         (8,519)          -             -               (8,519)
   Marketing                                                            (3,600)         -             -             -               (3,600)
   Petty Cash                                                              -            -             -             -                  -
   Professional Fees                                                       -            -             -             -                  -
   Taxes, Licenses, Dues & Fees                                        (28,273)        (129)          -             -              (28,402)
   Miscellaneous                                                           -            -             -             -                  -
Total Cash Disbursements                                           $ (73,880) $ (178,123) $ (11,203) $ (163,484)              $ (426,689)

Cash Flow From Operations                                             136,056      (123,595)     110,534       (133,271)           (10,277)

     Cap-EX                                                                -             -            -             -                  -
     Transfers from Indenture Trustee                                      -             -            -             -                  -
     Approved, Paid Professional Fees                                      -             -            -             -                  -
     Approved, Unpaid Professional Fees                                    -             -            -             -                  -
     Accrued, Unpaid Professional Fees, Not Yet Approved                   -             -            -             -                  -
     Net Due to/from Gordon Oaks                                           -             -            -         (15,000)           (15,000)
     Net Due to/from Marsh Pointe Mgmt, includes "mgmt fee"                -             -            -             -                  -
     Net Due to/from All Other Affiliated Parties                          -             -            -             -                  -
     Closing Costs                                                         -             -            -             -                  -

Net Cash Flow                                                      $ 136,056 $ (123,595) $ 110,534 $ (148,271)                $    (25,277)

Ending Balance                                                       $293,715      $170,120     $280,654      $132,383            $132,383

 1   Cash Receipts previously classified as "Patient Payments - Coinsurance", "Patient Payments - Managed Care", "Patient
     Payments - Private" are now included in "Patient Payments - Other".

                                                                Page 1 of 1
